8 F.3d 817
    NOTICE: Fourth Circuit I.O.P. 36.6 states that citation of unpublished dispositions is disfavored except for establishing res judicata, estoppel, or the law of the case and requires service of copies of cited unpublished dispositions of the Fourth Circuit.Frank Lee GARRETT, Plaintiff-Appellant,v.Edward W. MURRAY;  M. Brown, Lieutenant, North Housing Unit,Powhatan Correctional Center;  L. O. Lehr,Correctional Officer, North HousingUnit, Powhatan CorrectionalCenter, Defendants-Appellees.
    No. 93-6791.
    United States Court of Appeals,Fourth Circuit.
    Submitted:  September 27, 1993.Decided:  October 28, 1993.
    
      Appeal from the United States District Court for the Eastern District of Virginia, at Norfolk.
      Frank Lee Garrett, Appellant Pro Se.
      Karen Lynn Lebo, Office of the Attorney General of Virginia, Richmond, Virginia, for Appellees.
      E.D.Va.
      AFFIRMED.
      Before RUSSELL and MURNAGHAN, Circuit Judges, and CHAPMAN, Senior Circuit Judge.
      PER CURIAM:
    
    OPINION
    
      1
      Appellant appeals from the district court's order denying relief on his 42 U.S.C. § 1983 (1988) complaint.  Our review of the record and the district court's opinion discloses that this appeal is without merit.  Accordingly, we affirm on the reasoning of the district court.  Garrett v. Murray, No. CA-92-663-2 (E.D. Va.  July 20, 1993).  We dispense with oral argument because the facts and legal contentions are adequately presented in the materials before the Court and argument would not aid the decisional process.
    
    AFFIRMED
    